        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 1 of 39




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                 - against-                                    09 Cr. 1184 (RJH)


RAJ RAJARATNAM,
                                                                   OPINION
                              Defendant.


Richard J. Holwell, District Judge:

       On May 11, 2011 a jury returned a verdict of guilty on all fourteen counts in an

indictment charging defendant Raj Rajaratnam with conspiracies to commit and the commission

of various insider-trading schemes.

       On October 4, 2011 the Court heard argument on the calculation of defendant’s

guidelines sentence under the United States Sentencing Guidelines (“USSG” or the

“Guidelines”).

       On October 13, 2011 the Court sentenced Rajaratnam to a total of 132 months in prison

on all counts. Prior to imposing the sentence, the Court calculated the applicable Guideline

range to be 235 to 293 months in prison based on a total offense level of 38 and a criminal

history category of I. (Tr. of Hr’g, Oct. 13, 2011, at 32.) The Court indicated that it would issue

an opinion setting forth the basis for that calculation. The following opinion does so and

considers the three Guideline issues that were contested by the parties: (1) how to calculate

Rajaratnam’s “gain” pursuant to section 2B1.4(b) of the Guidelines; (2) whether section 3B1.1(a)

of the Guidelines warrants an enhancement on the ground that Rajaratnam “was an organizer or

leader of a criminal activity that involved five or more participants or was otherwise extensive”;
         Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 2 of 39




and (3) whether section 3C1.1 of the Guidelines warrants an enhancement on the ground that

Rajaratnam “willfully obstructed or impeded, or attempted to obstruct or impede, the

administration of justice with respect to the investigation, prosecution, or sentencing of the

instant offense of conviction.”

A.     Calculating the Defendant’s “Gain”

       The parties agree that defendant’s base offense level is eight (8) pursuant to USSG

sections 2X1.1 and 2B1.4(a). See U.S. Sentencing Guidelines Manual (“USSG”) §§ 2X1.1,

2B1.4(a) (2010). Section 2B1.4(b) of the Guidelines provides, however, that “[i]f the gain

resulting from the offense exceeded $5,000,” the Court should “increase by the number of levels

from the table in § 2B1.1 . . . corresponding to that amount.” Id. § 2B1.4(b). Under this

guideline, “[i]nsider trading is treated essentially as a sophisticated fraud.” Id. cmt. background.

Yet “[b]ecause the victims and their losses are difficult if not impossible to identify, the gain,

i.e., the total increase in value realized through trading in securities by the defendant and persons

acting in concert with the defendant or to whom the defendant provided inside information, is

employed instead of the victims’ losses.” Id. Not unexpectedly, Rajaratnam and the government

offer competing methods for calculating the “gain resulting from the offense.”

                   1. The Parties’ Gain Calculations

       The government relies on calculations performed by Special Agent James Barnacle.

According to the government, Special Agent Barncale calculated Rajaratnam’s “profit by taking

the difference between the price at which a security was purchased (or sold short) on the basis of

inside information, and the price at which it was later sold (or covered) following the relevant

public announcement, and then multiplying by the number of shares.” (Gov’t Mem. 32.) For

example, if Rajaratnam purchased 100,000 shares of Intel stock at $10 per share on June 1,



                                                  2
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 3 of 39




waited until the price rose to $15 per share when the price rose following the announcement of

inside information on June 15, and then sold the shares on June 16 at that price, the

government’s calculation would result in a “gain” of $500,000 ($15-$10 = $5 x 100,000).

       With respect to the stock of three companies—Intel, Google, and Goldman Sachs—the

government alleged that Rajaratnam gained what he would have lost had he not sold his shares

on the basis of negative inside information regarding those companies. “In these instances, the

gain was calculated by taking the difference between the price at [which] Rajaratnam sold stock

(or covered a short position) on the basis of inside information, and the price at which the

security traded at the open of the market on the day following the public release of the relevant

information, and then multiplying by the number of shares.” (Gov’t Mem. 32 n.8.) For example,

if Rajaratnam sold 100,000 shares of Intel stock at $10 per share on June 1 and the price declined

to $5 per share when the price rose following the announcement of inside information on June

15, the government’s calculation would result in a loss avoided, or “gain,” of $500,000 ($10-$5

= $5 x 100,000).

       Using these methods, the government has calculated Rajaratnam’s total “gain” as

$72,071,219.1

       Rajaratnam challenges the government’s method. The core of Rajaratnam’s argument is

the premise that the phrase “gain resulting from the offense” requires “separating the gains
1
  At trial, Special Agent Barnacle calculated the total “gain,” including losses avoided, as
$63,812,164. The government contends that documents Rajaratnam turned over at trial together
with other evidence the government introduced show that Rajaratnam was responsible for insider
trading in Akamai, Clearwire, Google, and Hilton under a code—CRS—that the government was
not able to identify at the time that Special Agent Barnacle performed his calculations. The
government has calculated Rajaratnam’s “gain” in trading under the CRS code as $8,259,055.
However, the Court need not determine whether the Court should consider these “gains”
because, assuming the Court can, there is no material difference between $72,071,219 and
$63,812,164 for purposes of the offense level. See USSG § 2B1.1 (providing for a 24 level
increase for profits greater than $50 million but less than $100 million).

                                                 3
         Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 4 of 39




attributable to the prohibited conduct (i.e., trading stock on the basis of material, nonpublic

information) from gains attributable to factors unrelated to that conduct, such as gains caused by

exogenous market movements or events unrelated to the material, nonpublic information.”

(Rajaratnam Mem. 20.) Rajaratnam contends that including either of these factors in calculating

his “gain” is improper “because the share price may fluctuate due to other market events, such as

the launch of a new product or general market movement.” (Id. at 21.)

       Rajaratnam contends that his expert witness, Dr. Gregg Jarrell, avoided that result by

using an alternative methodology. According to his sworn affidavit, Dr. Jarrell performed an

event study—“a statistical regression analysis that examines the effect of an event on a

dependent variable, such as a corporation’s stock price,” In re Vivendi Universal, S.A. Sec. Litig.,

605 F. Supp. 2d 586, 599 n.10 (S.D.N.Y. 2009)—to isolate the price increase or decrease in a

company’s stock attributable to the public announcement of inside information regarding a

company from the price increase or decrease attributable to events that happened to coincide

with the announcement. (See Rajaratnam Mem. Ex. B, Aff. of Dr. G. Jarrell, July 11, 2011

(“Jarrell Aff.”) ¶¶ 15-20.) Dr. Jarrell then multiplied the price increase or decrease attributable

to the public announcement of the inside information by Special Agent Barnacle’s estimate of

the number of shares held by Galleon. (See id. ¶ 21.)

       Using this method, Dr. Jarrell calculated Rajaratnam’s gain as $41,710,839,2 which

would result in a lower increase in defendant’s offense level calculation.

       In Rajaratnam’s view, “the government’s methodology improperly includes: (1) all

movements in the stock price that occurred after the shares were initially purchased but before



2
 If as Rajaratnam contends, losses avoided are excluded, Dr. Jarrell calculated Rajaratnam’s
gain as $36,358,313. The Opinion will consider in the next Section whether to include losses
avoided.
                                                  4
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 5 of 39




the announcement of the alleged inside information; and (2) all movements in the stock price that

occurred after the public reaction to the company’s announcement of the alleged inside

information until the date of sale, even if that date is days or weeks afterwards.” (Id. ¶ 23.) To

address this argument the Court considers three hypothetical scenarios.

           1) Rajaratnam purchases 100,000 shares of Intel stock at $10 per share on June 1,

               waits until the price increases to $15 per share on June 15 following the

               announcement of positive inside information regarding its earnings, and sells the

               shares on June 16 at that price.

           2) Rajaratnam purchases 100,000 shares of Intel stock at $10 per share on June 1.

               Over the next two weeks, the price of Intel stock increases to $15 per share on

               news that several major smartphone manufacturers have signed agreements to use

               Intel chips in millions of smartphones. On June 15, the price of Intel stock

               increases $5 per share to $20 per share following the positive earnings

               announcement, and Rajaratnam sells the shares on June 16 at that price.

           3) Rajaratnam purchases 100,000 shares of Intel stock at $10 per share on June 1.

               Over the next two weeks, the price of Intel stock decreases to $5 per share on

               news that several major smartphone manufacturers who have abandoned

               previously announced plans to use Intel chips in millions of smartphones. On

               June 15, the price of Intel stock increases to $10 per share following the positive

               earnings announcement, and Rajaratnam sells the shares on June 16 at that price.

In the first scenario, the government’s method yields a gain of $500,000 ($15-$10 = $5 x

100,000). In the second scenario, the government’s method yields a gain of $1 million ($20-$10

= $10 x 100,000). And in the third scenario, the government’s method yields a gain of $0 ($10-



                                                  5
         Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 6 of 39




$10 = $0 x 100,000). In other words, the government’s method yields three different gain

calculations that have nothing to do with the conduct constituting the offense and everything to

do with smartphone manufacturers.

       A method that yields three different gain calculations for the same conduct constituting

an offense seems to make little sense as a way to calculate the “gain resulting from the offense”

of insider trading. The Tenth Circuit reached that conclusion in United States v. Nacchio, 573

F.3d 1062 (10th Cir. 2009).

       In Naccio, the defendant, former Qwest CEO Joseph Nacchio, received stock options

with an exercise cost of $5.50. See id. at 1065. Nacchio received the options between 1997 and

2001. See id. In 2001, while in possession of inside information regarding Qwest’s accounting,

Nacchio sold the options at a price ranging from $37 to $42 for profits of just over $52 million

on the sales. See id. at 1065, 1067-68. Nacchio also incurred some $7.3 million in brokerage

costs for the sales. See id. at 1067-68.

       The government argued that the starting point for determining Nacchio’s “gain” was his

net profit, i.e., the amount Nacchio earned from the sales minus the cost of making them, or

$44.6 million. See id. at 1068. Nacchio argued that “to include for sentencing purposes the total

amount he made on the stock sales as gain is punishing him for the normal appreciation in

Qwest’s shares from 1997 to 2001, which had nothing to do with the charged offense.” Id. at

1069. Instead, like Rajaratnam, Nacchio submitted an “event study” by an expert witness that

“estimated the portion of [his] proceeds from the sale of Qwest stock during the insider trading




                                                6
         Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 7 of 39




period that was attributable to inside information concerning Qwest’s financial guidance” and

accounting. Id. at 1068. The district court disagreed and began from the $44.6 million figure.3

       The Tenth Circuit reversed. Drawing on Judge Bright’s dissent in United States v.

Mooney, 415 F.3d 1093 (8th Cir. 2005), the Tenth Circuit began from the premise that “[t]he

essence of the offense of insider trading is not the trading itself—standing alone, a lawful act—

but trading on the basis of inside information.” Id. at 1072 (emphasis in original). From that

premise, “it logically follows that any gain associated with lawful trading should not be

considered gain as used to increase a prison sentence.” Id. Rather, “[t]he plain language of §

2F1.2 [the identical predecessor to section 2B1.4(b)]4 supports the notion that an insider trading

defendant’s ‘gain’ should not consist of the total amount that the defendant realized from his or

her stock sales, but should be limited more specifically to the gain that resulted from trading with

insider knowledge.” Id.

       The Nacchio court acknowledged that the Guideline commentary referred to “the total

increase in value realized through trading in securities. . . .” Id. at 1073 (quoting USSG §

2B1.4(b) cmt. background). However, the court noted that the commentary referred to this “total

increase” in value as a description of “the gain,” which in the guideline itself was followed by

the words “resulting from the offense.” See id. at 1073. Accordingly, like Judge Bright, the

Tenth Circuit concluded that “the insider trading guideline specifically limits the gain to that

‘resulting from the offense’ and that “the ‘total increase in value’ commentary language specifies

how to calculate that gain.” Id. at 1073 (emphasis in original). In other words, the


3
 The district court ultimately calculated Nacchio’s “gain” as approximately $28 million based
on tax calculations that do not appear relevant here. See Nacchio, 573 F.3d at 1068-69.
4
 Section “2B.1.4 now contains the same language as former § 2F1.2. . . .” Nacchio, 573 F.3d at
1066 n.5.

                                                 7
         Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 8 of 39




commentary’s “instruction is . . . applicable to the narrowly defined ‘gain’ that falls within the

[Guideline] definition.” Id. (emphasis in original).5

       The Tenth Circuit further reasoned that “[t]he language of the guideline commentary

supports the view that a stock’s inherent value—i.e., the market’s assessment of the stock’s

value, reflecting primarily the value of the firm’s net assets and operations and its potential

earnings and growth prospects—should not be a component of the gain amount: rather than the

‘total value realized,’ the commentary describes gain as the total increase in value realized’—

contemplating that there is a baseline stock value from which the gain (i.e. increase) is

measured.” Id. at 1075 (emphasis in original).

       Put another way, the Nacchio court analogized calculating insider trading gains to

calculating loss causation in a securities fraud case under Rule 10b-5. In such a case, a

defendant’s misrepresentation inflates the price of stock and investors lose money when the

stock price declines in response to the defendant’s revelation of the truth. In similar terms, the

Tenth Circuit stated that “Nacchio’s benefit stemmed from the illicit, though speculative, effect

of the material inside information on the value of Qwest stock.” Id. at 1076. Further,

       [u]nder the government’s prosecution theory, the market would have
       viewed the inside information in a negative light, and disclosure of that
       information would have detrimentally impacted the value of Qwest stock.
       Therefore, the nondisclosure of the information allowed the stock to
       maintain an artificially high value and allowed Mr. Nacchio to benefit
       from that value when he traded in the stock. It is that illicit, artificially
       high value that should be reflected in the gain calculation, not the
       underlying value of the stock.
Id.




5
 In any event, the Tenth Circuit noted that, to the extent that the commentary conflicted with the
guideline, the latter governed. See Nacchio, 537 F.3d at 1073 n.10 (citing Stinson v. United
States, 508 U.S. 36, 43 (1993)).

                                                  8
         Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 9 of 39




       Finally, employing examples similar to those discussed above which resulted in different

gain calculations for defendants who committed the same crime, see id. at 1082-84, the Tenth

Circuit stated that “the district court’s approach would divorce the sentencing assessment of gain

from the defendant’s individual culpability.” Id. at 1082-84; see also id. at 1081 (“However, if

the impact of unrelated twists and turns of the market is ignored in the sentencing calculus then

an insider trading defendant is likely to suffer a sentence that is detached from his or her

individual conduct and circumstances.”).

       Notably, in that regard, the Nacchio court distinguished cases in which “two otherwise

equally culpable bank robbers may face different sentences based solely on the different amounts

of money that tellers happened to place in their bags; and two otherwise equally culpable drug

trafficking mules may face different sentences based only on the different quantities of drugs that

unbeknownst to them were given to them for transport.” Id. at 1081 n.16. While the court

acknowledged that “different circumstances that produce these disparate sentencing outcomes

may not have been within the control of the defendants or even within their ken,” it concluded

that “those circumstances nonetheless stem from, and are closely tied to, their individual criminal

activity and the resulting harm—that is, their acts of robbing a bank and demanding money from

the teller, and their acts of taking delivery of and ferrying illegal drugs.” Id. “In contrast, the act

of trading in securities” and “a whole host of factors can contribute to the gains or losses that a

defendant incurs from trading in stock that have nothing to do with the criminal dimensions of

his or her activity—factors that relate simply to the ordinary economics and psychology of the

marketplace.” Id.

       The Tenth Circuit’s decision in Nacchio makes a compelling case that the government’s

method could punish a defendant for exogenous market events and lead to unequal sentences for



                                                   9
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 10 of 39




equal crimes. However, while the Nacchio decision seems correct to point out that the

Guidelines refer to the “gain resulting from the offense,” it is far from clear that the method that

decision endorsed—and which Rajaratnam advances here—accurately calculates that gain.

       It is true that the offense in Section 10b-5 “is not the purchase of stock itself, but the use

of a manipulative or deceptive contrivance in connection with the purchase.” Mooney, 425 F.3d

at 1106 (Bright, J., dissenting) (quoting 15 U.S.C. § 78j(b)) (emphasis in original). And for that

reason there is some appeal to using the kind of event studies that courts use in fraudulent

misrepresentation cases. Indeed, both fraudulent misrepresentation and insider trading cases

involve measuring the value of information to the market. The former involve the value of the

information that a company should have disclosed but did not; the latter involve the value of

information that a company has lawfully chosen not to disclose but later will. And in both cases,

the change in the company’s stock price that cannot be explained by other market factors has

become an accepted measure for the value of information.

       However, for purposes of determining the defendant’s “gain resulting from the offense,”

there is an important difference between fraudulent misrepresentation and insider trading cases:

the inside trader does not cause the price of a company’s stock to move. Of course, complicated

financial models might show that the market reacts to the way that certain investors are trading.

But in general, one who trades in a company’s stock does not affect its price the way that the

company’s announcements (or omissions from those announcements) do.

       Another way of saying that is that when a stock declines after a company announces the

truth, the decline results from the defendant’s offense, namely, fraud. That offense involves

making a statement that inflates the price of stock above what its price would be if the market

knew the truth. Hence the decline in the stock price attributable to the revelation of the truth



                                                 10
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 11 of 39




measures the difference to investors between a world where the defendant lied and a world

where the defendant told the truth.

       Insider trading is different. When an insider trades on the basis of material, non-public

information, the insider usually does not cause any price inflation or deflation. Indeed, the Tenth

Circuit in Nacchio seemed to acknowledge as much in stating that “the non-disclosure of the

information allowed the stock to maintain an artificially high value” rather than that Nacchio’s

trading gave the stock an artificially high value. Nacchio, 573 F.3d at 1076. Similarly, when a

stock declines after a company announces worse than expected earnings or rises when a

company announces better than expected earnings, the decline or rise itself does not result from

the defendant’s insider trading. Rather, as the Tenth Circuit acknowledged, the fact that Qwest

had not disclosed the inside information merely “allowed Mr. Nacchio to benefit from that value

when he traded in the stock.” Id.

       Where the rise or decline in the price of a stock in response to a public announcement

does not result from any action of the defendant giving rise to the offense, it is hard to say that a

defendant’s gain from the rise or decline is a “gain resulting from the offense” of insider trading.

Indeed, the change in stock price following the public announcement of information that an

insider traded on in advance does not measure the difference between a world in which the

defendant acted lawfully and a world in which the defendant acted unlawfully. An insider and a

lawful investor who purchase stock at the same time will earn the same profit.6 The difference

between them is not how each has affected the stock but what each knows about the company

issuing it. Measuring the change in stock price might measure the value of what an insider

6
 For the same reason, it makes no more sense to say that, as compared to the innocent
shareholder who sold to him, an insider trading defendant has earned only the increase in stock
price following the announcement of positive news. The innocent shareholder would have
earned the entire increase in price.
                                                 11
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 12 of 39




knows, but that is not how the Guidelines measure the “gain.” The commentary refers to the

“value realized through trading in securities” not the value of the information used to do the

trading. And the plain language of the “value realized through trading in securities” is the

increase in the price of stock from the time that the defendant purchased it to the time he sold it.

       Of course, as the Tenth Circuit took pains to point out, the commentary is only an

interpretation of the phrase “gain” and the Guideline itself refers to “gain resulting from the

offense.” But measuring insider trading gains based on the value of the inside information

misinterprets “offense” because it rests on the false premise that insider trading has legal and

illegal parts for purposes of that term.

       The Nacchio court distinguished between trading vel non—“standing alone, a lawful act”

and “trading on the basis of inside information.” Nacchio, 573 F.3d at 1072 (emphasis in

original). That position—that the “gain” “should be limited . . . to the gain that resulted from

trading with insider knowledge,” id. at 1072—assumes that a single trade can be divided into

“trading with insider knowledge” and trading on the basis of public information.

       The Second Circuit, however, appears to have rejected that proposition. “Unlike a loaded

weapon which may stand ready but unused, material information cannot lay idle in the human

brain.” United States v. Teicher, 987 F.2d 112, 120 (2d Cir. 1993). Hence “[i]t does not follow,

that when one such piece of information is revealed to be material, in and of itself, and the trader

knows it to be material, the trader might somehow consider the information irrelevant to the

whole.” Id. at 121. Indeed, the Second Circuit has stated that “[i]t strains reason to argue that an

arbitrageur, who traded while possessing information he knew to be fraudulently obtained, knew

to be material, knew to be nonpublic—and who did not act in good faith in so doing—did not

also trade on the basis of that information.” Id.



                                                    12
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 13 of 39




       Thus however logical it may be “that any gain associated with lawful trading should not

be considered gain as used to increase a prison sentence,” Nacchio, 573 F.3d at 1072, where a

defendant has traded on the basis of inside information, the defendant has not engaged in any

“lawful trading.” Rather, the defendant has committed an “offense.” The fact that the defendant

later earns profits that he would have earned if he had, in fact, traded lawfully does not change

the fact that he has traded unlawfully. And having made the decision to do so, it makes no more

sense to insulate the insider trading defendant from the risk that he will earn more than he

expects than to insulate the bank robber who robs a bank from the risk that the vault is full.

       To be sure, there is a sense in which that result subjects an insider trading defendant to

market mysteries that are far more elusive than whether the bank vault will have any money.

But that is hardly objectionable as a measure of the punishment for an offense that enables a

defendant to avoid (or least minimize) those very same risks.

       Because an insider trading defendant knows what is going to happen, he has a one-way

ratchet. Returning to the above example, suppose that Rajaratnam (a) knew that Intel was going

to announce positive earnings results; (b) believes that Intel is about to renew its agreement with

smartphone manufacturers to use Intel chips; but (c) fears the truth of rumors that the smartphone

manufacturers will use AMD chips instead. In that case, Rajaratnam can purchase Intel stock

knowing that if he is wrong about the smartphone manufacturers, his losses will likely be

minimized by the positive earnings results, whereas if he is right about the smartphone

manufacturers, he will earn even more profits.

       In the event that Rajaratnam is right about the smartphone but is caught, including his

gain from the smartphone news only punishes him for realizing the benefits of his advantage

over an investor who might not have had the confidence to purchase when Rajaratnam did. It is



                                                 13
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 14 of 39




that advantage that truly lies at the core of the “offense” of insider trading, which is complete at

the time that the defendant causes a trade to be executed. And a punishment that subjects one

who commits that offense to the very market fluctuations his criminality enabled him to avoid

seems like justice par excellence.

       In sum, the Guidelines refer to the defendant’s “gain resulting from the offense.” That

“offense” occurs when a defendant executes or causes to be executed trades, and inside

information was a factor in the defendant’s decision to do so. Accordingly, since the defendant

commits the “offense” when he trades, it makes perfect sense that the Guidelines calculate the

“gain resulting from the offense” as “the total increase in value realized through trading in

securities by the defendant.” Since the plain meaning of “increase in value” is the difference

between the purchase and sale price, the government’s method best accords with the plain

language of the Guidelines.

                   2. The Court’s Gain Calculation For the Period Between the Public
                      Announcement and a Later Sale


       The following scenarios have been adapted to the facts of this case from Judge Bright’s

dissent in Mooney, 425 F.3d at 1097, discussed infra.

           1) Rajaratnam purchases 100,000 shares of Intel stock at $10 per share on June 1,

               waits until the price increases to $15 per share on June 15 following the

               announcement of positive inside information regarding its earnings, and sells the

               shares on June 16 at that price.

           2) Rajaratnam purchases 100,000 shares of Intel stock at $10 per share on June 1.

               Following the announcement of positive inside information on June 15, the price

               of Intel stock increases to $15 per share. However, Rajaratnam does not sell.



                                                  14
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 15 of 39




               Over the next two weeks, the price of Intel stock continues to rise on a series of

               reports that several major smartphone manufacturers have signed agreements to

               use Intel chips in millions of smartphones. By June 29, the price of Intel stock

               has risen to $25 per share and Rajaratnam sells his shares on that day at that price.

           3) Rajaratnam purchases 100,000 shares of Intel stock at $10 per share on June 1.

               Following the announcement of positive inside information on June 15, the price

               of Intel stock increases to $15 per share. However, Rajaratnam does not sell.

               Over the next two weeks, the price of Intel stock falls on a series of reports that

               several major smartphone manufacturers who have abandoned previously

               announced plans to use Intel chips in millions of smartphones. By June 29, the

               price of Intel stock has fallen to $11 per share and Rajaratnam sells his shares on

               that day at that price.

In the first scenario, the government’s method yields a gain of $500,000 ($15-$10 = $5 x

100,000). In the second scenario, the government’s method yields a gain of $1.5 million ($25-

$10 = $15 x 100,000). And in the third scenario, the government’s method yields a gain of

$100,000 ($11-$10 = $1 x 100,000). In other words, the government’s method yields three

different gain calculations that have nothing to do with the conduct constituting the offense and

everything to do with smartphone manufacturers.

       Again, a method that yields three different gain calculations for the same conduct

constituting an offense seems to make little sense as a way to calculate the “gain resulting from

the offense” of insider trading.

        In United States v. Mooney, 425 F.3d 1093 (8th Cir. 2005), however, the Eighth Circuit

disagreed. That case involved defendant Michael Mooney, a former United Healthcare



                                                15
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 16 of 39




Corporation executive who was convicted of trading in United stock on the basis of inside

information regarding United’s acquisition of MetraHealth. See id. at 1095. In May and June

1995, while he was participating in confidential due diligence regarding the acquisition, Mooney

purchased call options in United stock for $258,283.03. See id. at 1096. United announced the

acquisition on June 26, 1995. See id. at 1097. On July 14 and October 4 and 5, 1995, Mooney

sold his call options for a total of $532,482.49. See id. at 1096.

        The district court calculated Mooney’s “gain” as $274,199.46, or the difference between

the price at which Mooney sold the options and the price at which he purchased them

($532,482.49 - $258,283.03). See id. at 1096. On appeal, Mooney contended that “the market

would have reasonably absorbed his inside information by June 28, just two days after United

announced its Metra acquisition, and that the information would have been reflected in the

market value of his call options on that date.” Id. at 1098. Accordingly, Mooney argued that his

gains were only $50,467.47, or the difference between the market value of the call options when

the inside information became public and the price at which he purchased the options. See id. at

1099.

        Sitting en banc, the Eighth Circuit rejected Mooney’s argument based on its reading of

the plain language of Section 2B1.4. The court began from the premise that “Section 2B1.4 and

its phrase ‘gain resulting from the offense’ are simple and straightforward. The guideline refers

to the defendant’s gain, not to market gain, and it ties gain to the defendant’s offense.” Id. at

1099. Moreover, the Eighth Circuit concluded that “any question about the guideline’s meaning

is decisively resolved by the authoritative definition provided in the commentary to § 2B1.4.”

Id. On that point, the Eighth Circuit reasoned that “[b]y use of the word realized, the




                                                 16
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 17 of 39




commentary makes clear that gain is the total profit actually made from a defendant’s illegal

securities transactions.” Id.

       Judge Bright dissented. The core of his disagreement with the Mooney majority was that

section 2B1.4 refers not only to the defendant’s “gain” but to his “gain resulting from the

offense.” Judge Bright reasoned that a court “cannot know what the ‘gain resulting from the

offense’ is, without first knowing what ‘the offense’ is.” Id. at 1105 (Bright, J., dissenting).

Judge Bright went on to point out that the offense in Section 10b-5 “is not the purchase of stock

itself, but the use of a manipulative or deceptive contrivance in connection with the purchase.”

Id. at 1106 (quoting 15 U.S.C. § 78j(b)) (emphasis in original). Based on that definition of “the

offense,” Judge Bright reasoned as follows:

       The gain resulting from the deception stops when the deception stops, though
       there may be later gain (or loss) as the stock market gyrates along, unmolested by
       any deception. If someone buys stock illegally on the basis of insider knowledge,
       there may be an increase in the stock’s value when the insider knowledge is made
       public. That increase is illicit, resulting from a kind of deception to the other
       buyers and sellers of the stock. After the market adjusts to this information and
       the deception is ended, the value of the stock will, of course, continue to fluctuate
       according to the ordinary, legitimate vagaries of the market—with no deception—
       and thus, no offense under 15 U.S.C. § 78j—involved. Thus, if the person holds
       the stock for another five years after the insider knowledge has been made public,
       the value of the stock will continue to rise or fall regardless of the prior deception.

Id.

       Judge Bright also concluded that, “[e]ven if the plain language of the statute did not

clearly tell us what ‘the gain resulting from the offense’ is,” the Mooney majority’s conclusion

would “not promote uniformity.” Id. “To the contrary,” in Judge Bright’s view, the majority’s

position “could result in unequal sentences for equal crimes.” Id. at 1106-07. To make that

point, Judge Bright used a series of examples similar to those discussed in the previous

subsection. See id. at 1107.



                                                 17
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 18 of 39




       As applied to measuring gains based on stock price movements after the announcement

of inside information, Judge Bright’s reasoning is persuasive in a way that the Nacchio court’s is

not.

       Again, in a nutshell, the Nacchio court’s reasoning rests on the false premise that a single

trade can be divided into “trading with insider knowledge” and trading on the basis of public

information. Where inside information is a factor in a defendant’s decision to trade, that person

has committed a crime. In deciding to do so, the defendant assumes the risk that factors beyond

his or her control—here market conditions—will exacerbate the seriousness of that crime. And

where the essence of the crime is gaining a risk-free advantage over other investors, there is

nothing unjust about punishing a defendant when the very risks his crime enabled him to avoid

have come to pass.

       However, the core of Judge Bright’s dissent is that once the inside information has

become public the insider has lost his illegal advantage. That vitiates the justification for

saddling a defendant with market risks.

       When inside information has been announced, a defendant who has earned profits from

trading on it has a choice: should he cash out his profits if the thinks that the stock will fall or

should he hold on to his stock if he thinks that the price will rise? Assuming that the defendant

has no other inside information, he faces the same choice as any other investor. Thus the

defendant’s decision to hold the stock is no less “lawful trading” than any other investor’s

decision to purchase it. Nacchio, 573 F.3d at 1072. Indeed, it is no less lawful than if the

defendant decided to independently buy shares at the new price. Gains from that purchase would




                                                  18
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 19 of 39




hardly be the result of any offense. Thus the defendant’s gains from a decision that amounts to

the same act are not the result of any offense, either.7

                   3. Loss Avoidance as a Measure of Gain

       Rajaratnam argues that the government’s calculations improperly include losses that

Rajaratnam allegedly avoided when he sold the stock of Intel, Google, and Goldman Sachs.

Rajaratnam does not contest the propriety of including losses avoided per se. Rather, he

challenges the propriety of doing so in the circumstances of this case. This subsection considers

that challenge with respect to each stock in turn.

                          i.   Intel

       The government has calculated that Rajaratnam avoided losses of $882,915 when he

covered a short position in Intel stock on April 13 and April 16, 2007 after receiving a tip from

Rajiv Goel concerning Intel’s upcoming earnings announcement. Rajaratnam argues that it is

“inherently contradictory” to hold him responsible both for these “losses avoided” and for gains

from his purchase of Intel shares on April 16 and April 17, 2007. (Rajaratnam Mem. 27.)

Specifically, Rajaratnam argues that “the gain calculation is based on holding both short and

long positions in the stock of Intel at the same time, which makes no sense.” (Id.)

       It is Rajaratnam’s argument that makes little sense. The government’s theory is not

“based on the assumption that a short position would be held through the public announcement

7
  It is true that, viewed through a similar lens, a defendant who has traded on the basis of inside
information is not merely a passive recipient of what the market gives him in the time period
before the information has been announced. But whereas a defendant deciding whether to cash
out or maintain a position after inside information has been revealed faces the same decision as a
legitimate investor, a defendant deciding whether to maintain a position he established on the
basis of inside information before the information has been revealed faces a decision that is
different from the decision facing a legitimate investor. Indeed, the fact that the defendant
knows inside information makes his decision to maintain his position little different than his
initial decision to establish it. In that sense, the defendant’s insider trading—that is, his
“offense”—repeats itself until the inside information has been announced.
                                                  19
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 20 of 39




and not eliminated by covering, while at the same time taking a long position by buying and

holding shares before the announcement.” (Rajaratnam Mem. 28.) The government’s theory is

that had Rajaratnam not received the tip regarding the positive earnings announcement,

Rajaratnam would have held his short position betting that Intel stock would decline not have

purchased Intel stock betting that it would rise. When the price of Intel stock in fact rose,

Rajaratnam would have lost money on the short position and never taken a long position. But

Rajaratnam knew about the positive earnings announcement, covered his short position, and

purchased stock to double down. Accordingly, the measure of his gain from illegal trading is the

loss he avoided by covering and his gain from purchasing.

       Rajaratnam argues that “there is simply no factual basis on which to conclude that he

would have held [the short] position – and incurred the losses that the government alleges –

through the announcement date.” (Rajaratnam Mem. 27.) That is hardly true. The

government’s evidence showed that Rajaratnam reversed his position in Intel stock immediately

after speaking with Rajiv Goel who testified that he tipped Rajaratnam regarding Intel’s earnings

announcement. Before speaking with Goel, Rajaratnam was short the stock, that is, betting that

the stock would fall. After speaking with Goel, Rajaratnam purchased the stock betting that it

would rise. That evidence creates an inference Goel’s tip caused Rajaratnam to change his

opinion about Intel stock. Rajaratnam does nothing to rebut that inference. Accordingly, the

government has met its burden of proving by a preponderance of the evidence a fact relevant to

sentencing. United States v. Irving, 554 F.3d 64, 72 (2d Cir. 2009).

                         ii.   Google

       Rajaratnam makes a similar argument with respect to Google. The government has

calculated that Rajaratnam avoided losses of $5,312,250 when he sold 135,000 shares of Google



                                                 20
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 21 of 39




stock on July 13, 2007 after receiving a tip from Roomy Khan that Google would report

disappointing earnings figures. Rajaratnam argues that it makes no sense to assume that he

would have both retained these shares and shorted the stock as he did between July 13 and July

19, 2007. (See Rajaratnam Mem. 29.)

       Again, however, Rajaratnam takes the alternative universe only half way. The

government’s theory is that had Rajaratnam not received the tip regarding the negative earnings

information, he would have kept the Google shares betting the stock would rise and not shorted

the stock betting that it would fall. But Rajaratnam knew about the negative earnings

announcement, sold his position, and shorted the stock to double down. Accordingly, the

measure of his gain from illegal trading is the loss he avoided by selling his long position and his

gain from shorting the stock or betting that it would decline.

       Rajaratnam argues that “[t]here is no factual basis to assume [the long positions] would

have been held through the announcement.” (See Rajaratnam Mem 29.) Again, that is hardly

true. The government’s evidence showed that Rajaratnam reversed his position in Google stock

immediately after speaking with Roomy Khan whom circumstantial evidence suggested tipped

Rajaratnam regarding Google’s earnings announcement. Before speaking with Khan,

Rajaratnam was long the stock, or betting that the stock would rise. After speaking with Khan,

Rajaratnam instructed his trader to sell his entire holdings of Google stock and later shorted the

stock, or bet that it would fall. That evidence creates an inference Khan caused Rajaratnam to

change his opinion about Google stock. Rajaratnam does nothing to rebut that inference.

Accordingly, the government has met its burden of proving by a preponderance of the evidence a

fact relevant to sentencing. Irving, 554 F.3d at 72.




                                                21
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 22 of 39




                        iii.   Goldman Sachs

       Rajaratnam also makes a similar argument with respect to Goldman Sachs. The

government has calculated that Rajaratnam avoided losses of $3,800,565 when he sold Goldman

Sachs shares on October 24 after receiving a tip that Goldman Sachs would announce quarterly

losses for the first time in its history. Rajaratnam sold the shares for approximately $97 per

share. When Goldman Sachs announced its losses on December 16, the share price fell to $75

per share. Rajaratnam argues that because any gain calculation that includes these losses

avoided assumes that Rajaratnam would have held his shares until December 16, any such

calculation “unreasonably assumes that [he] would have ignored the fact that Goldman Sachs’

share price was falling precipitously during this period” just after the onset of the financial crisis.

(See Rajaratnam Mem. 30.)

       Rajaratnam’s argument with respect to Goldman Sachs stands on a somewhat different

footing than his arguments with respect to Intel and Google. True, the government can point to

evidence suggesting that Rajaratnam learned from Rajat Gupta that Goldman Sachs would be

reporting losses and immediately thereafter sold shares he had purchased just days before. And

that evidence creates an inference that speaking with Gupta caused Rajaratnam to change his

opinion about Goldman Sachs stock. However, whereas Rajaratnam could not point to any

evidence to rebut similar inferences with respect to Intel and Google, Rajaratnam argues that the

onset of the financial crisis would have given Rajaratnam ample reason to sell before December

16.

       The logic of that suggestion makes it tempting to credit. At bottom, however,

Rajaratnam’s argument is the mirror of his argument that he should not be punished for the

increase in value realized between his purchase of stock based on inside information and the time



                                                  22
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 23 of 39




the public learns that information. In that vein, it is notable that Rajaratnam’s argument that his

“gain” does not include pre-announcement gains is not that the government cannot prove that he

would not have lawfully purchased the stock some time before the announcement. Indeed, the

government has no such burden. Rather, when inside information is a factor in a defendant’s

purchase of stock, the defendant has committed a crime, and the purchase cannot be separated

into lawful and unlawful parts.

       The same is true where inside information is a factor in a defendant’s sale of stock. And

just as, for the reasons set forth above, there is nothing unjust about subjecting one who

purchases stock on the basis of inside information to the risk that the market will make his trade

more profitable than he expects, there is nothing unjust about subjecting one who sells stock on

the basis of inside information to the risk that his trade will save him more than he expects. For,

like the defendant who purchases stock, a defendant who sells stock on the basis of inside

information has an illegal advantage that allows him to minimize the risk of his sale.

       Suppose that Rajaratnam (a) knew that Goldman Sachs was going to announce negative

earnings results; (b) believed that the financial industry would experience a prolonged decline;

but (c) believes it is possible that Congress may take measures that will stem the decline and

cause financial stocks to rebound. In that case, Rajaratnam could sell Goldman Sachs stock

knowing that if he is right about the decline of the financial industry, he will avoid losses both

from that decline and from the effect of Goldman Sachs’s earnings announcement, whereas if

Congress acts, the amount of profit he will have missed from the general rebound will be

minimized by the decline in Goldman Sachs stock following the earnings announcement.

       Again, in the event that Rajaratnam is right about the industry decline but is caught,

including the losses he avoided from that decline only punishes him for realizing the benefits of



                                                 23
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 24 of 39




his advantage over an investor who might not have had the confidence to sell in an uncertain

time. It hardly seems unjust to include those benefits in the calculation of his gain from an

offense whose core is benefitting from an informational advantage. And the same logic should

apply to Rajaratnam’s arguments as to losses avoided with respect to Intel and Google.

                    4. Rajaratnam’s Share of Galleon’s Gain

        Rajaratnam further argues that even a calculation that excludes losses avoided

nevertheless “overstates [his] culpability, since it represents the gain to Galleon and its investors

rather than to Mr. Rajaratnam himself.” (Rajaratnam Mem. 31.) This argument rests on two

premises: (1) the Guideline commentary refers to “the total increase in value realized through

trading in securities by the defendant and persons acting in concert with the defendant or to

whom the defendant provided inside information,” USSG § 2B1.4 cmt. background; and (2)

Rajaratnam made the trades that the government has used to calculate his gain in Galleon

accounts not his own accounts.

        The argument runs as follows. Rajaratnam is not the only person who profits from

increases in the value of Galleon accounts. Indeed, not even Galleon Management L.P. earned

all of the profits from Galleon trading accounts. Rather, like many hedge funds, Galleon

Management L.P. earned a two percent management fee on the amount of assets in its funds and

twenty percent of any gains in the funds. This is the so-called “two and twenty.” The rest of the

profits go to investors.

        Rajaratnam, of course, was both a partner in Galleon Management L.P. entitled to a

percentage of its “two and twenty” after expenses and an investor in Galleon funds entitled to a

percentage of gains in those funds. Based on Rajaratnam’s ownership interests in Galleon

Management L.P. and various Galleon funds, Rajaratnam has calculated that his personal gain



                                                 24
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 25 of 39




from trading in Galleon accounts was $7,460,633 (or $8,535,836 if losses avoided are included,

or $12,762,432 using the government’s method of calculating the total gain from the trading).

       Whether Rajaratnam is correct appears to turn on the meaning of “the total increase in

value realized through trading in securities by the defendant and persons acting in concert with

the defendant or to whom the defendant provided inside information.” USSG § 2B.1.4 cmt.

background. The phrase is not a model of clarity and unfortunately no court appears to have

addressed its meaning.

       The critical word appears to be “by”: does “by” refer to “value realized” or “trading in

securities”? Given that the commentary refers to “trading in securities by,” the word “by” seems

most logically to refer to “trading in securities” such that the entire phrase means “the total

increase in value realized through the defendant’s trading and trading by persons acting in

concert with the defendant or trading by persons to whom the defendant provided inside

information.”

       Rajaratnam’s construction of the phrase appears to assume that “by” refers to “realized”

such that the phrase means “the total increase in value realized by the defendant and persons

acting in concert with the defendant or by persons to whom the defendant provided inside

information through trading in securities.” The problem with that construction is that it leaves

unmodified the phrase “trading in securities.” That leaves open the question of who is doing the

trading by which the defendant and others are realizing gains.

       It might be argued that, because the Guideline itself refers to “gain resulting from the

offense,” USSG § 2B1.4 (emphasis added), the relevant “trading in securities” is the defendant’s

trading. However, reading in that limitation leads to somewhat strange results. If the phrase

really means “the total increase in value realized by the defendant and persons acting in concert



                                                 25
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 26 of 39




with the defendant or by persons to whom the defendant provided inside information through

trading in securities by the defendant,” the “gain” would include value realized from the

defendant’s trading by “persons to whom the defendant provided inside information” and

exclude value realized by those persons from their own trading based on that information. That

is, Rajaratnam’s construction would render the enhancement entirely inapplicable to a defendant

convicted of tipping rather than insider trading. That result cannot be squared with the fact that

section 2B1.4 refers without limitation to 15 U.S.C. § 78j and Rule 10b-5 pursuant to which both

tipping and insider trading are crimes.

       It makes far more sense to interpret the phrase “the total increase in value realized

through trading in securities by the defendant and persons acting in concert with the defendant or

to whom the defendant provided inside information,” USSG § 2B1.4 cmt. background (emphasis

added), as referring to the increase in value realized by the defendant or others’ trading vel non

rather than the value realized by the defendant himself from that trading. That interpretation

would include gains from trading by “persons . . . to whom the defendant provided inside

information” and thereby hold tippers responsible for gains by their tippees.

       So construed, the commentary is indifferent to whether Rajaratnam, Galleon

Management L.P., or Galleon investors took home that increase in value. Rather, the relevant

number is the size of the increase, namely, the increase in the price of a company’s shares from

the time that Rajaratnam purchased them to the time that the public learned the inside

information.




                                                 26
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 27 of 39




                       5.      Conclusion

       In sum, Rajaratnam’s “gain” for purposes of section 2B1.4 of the Guidelines is equal to

the sum of:

       (a) (the increase in the price of a company’s shares from the time that Rajaratnam

       purchased them to the time that the public learned the inside information) x (the number

       of shares that Rajaratnam traded); and

       (b) (the decrease in value from the time that Rajaratnam sold Intel, Google, and Goldman

       Sachs shares on the basis of tips regarding those companies’ earnings to the time that the

       public learned the earnings information) x (the number of Intel, Google, and Goldman

       Sachs shares that Rajaratnam sold).

       By any calculation, Rajaratnam’s gain falls between $50 and $100 million, thereby

warranting a 24 level increase to the base offense level of eight (8).

B.     Leadership Role Enhancement

       Section 3B1.1(a) of the Guidelines provides that “[i]f the defendant was an organizer or

leader of a criminal activity that involved five or more participants or was otherwise extensive,”

the sentencing court should increase the offense level by 4 levels. USSG § 3B1.1(a). “Prior to

imposing a leadership enhancement under section 3B1.1(a), a sentencing court must make

‘specific factual findings that (i) the defendant was an organizer or leader, and (ii) the criminal

activity involved five or more participants, or was otherwise extensive.’” United States v. Si Lu

Tian, 339 F.3d 143, 156 (2d Cir. 2003) (quoting United States v. Escotto, 121 F.3d 81, 85 (2d

Cir. 1997)).




                                                 27
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 28 of 39




               1.      Five or More Participants

       “A ‘participant’ is a person who is criminally responsible for the commission of the

offense, but need not have been convicted.” USSG § 3B1.1 cmt. n.1. Cf. United States v. Ware,

577 F.3d 442, 453 (2d Cir. 2009) (citing same). Hence the Second Circuit has held that persons

cannot “be considered ‘participants’ within the above Guidelines definition of that term” where

there is “no indication in the record that they would be criminally liable.” Ware, 577 F.3d at

453. “[A] defendant may properly be included as a participant when determining whether the

criminal activity ‘involved five or more participants’ for purposes of a leadership role

enhancement under § 3B1.1.” United States v. Paccione, 202 F.3d 622, 625 (2d Cir. 2000).

However, it follows from the definition of a participant as someone criminally liable that “[i]n

assessing whether a criminal activity ‘involved five or more participants,’ only knowing

participants are included.” Id. at 624.

       The government argues that three of the charged conspiracies involved at least five

participants: Count One (Rajaratnam, Rengan Rajaratnam, Kris Chellam, Krish Panu, Adam

Smith, Kamal Ahmed, Rajat Gupta and Joe Liu); Count Two (Rajaratnam, Roomy Kahn, Sunil

Bhalla, Shamarra Hussain and Deep Shah); and Count Five (Rajaratnam, Danielle Chiesi, Anil

Kumar, Kieran Taylor, Robert Moffat and Hector Ruiz).

       Rajaratnam counters that at most the government showed that he was a member in

several conspiracies with one or two individuals but never with the knowing participation of five

or more co-conspirators (including him). Thus Rajaratnam takes a quite narrow view of the term

“participant,” interpreting the Guideline’s definition of “a person who is criminally responsible

for the commission of the offense,” USSG § 3B1.1 cmt. n.1 (emphasis added), to exclude a

person who may be criminally liable for some other offense for which the defendant has also



                                                28
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 29 of 39




been convicted. See Paccione, 202 F.3d at 624-25. The government accuses Rajaratnam of

over-reading Paccione, pointing out that the Second Circuit has rejected the argument that role

adjustment should be based only on the offense charged as opposed to all relevant conduct.

United States v. Greer, 285 F.3d 158, 181 (2d Cir. 2002). Relevant conduct, according to the

government, must include as participants insiders who may not be chargeable in a single

conspiracy under United States v. McDermott, 245 F.3d 133 (2d Cir. 2001), but who are directly

involved in, and criminally responsible for directly related (relevant) conduct. Thus in the

government’s view the fact that Moffet, for example, was unknown to Rajaratnam and, as a

remote tipper, could not be indicted in the same count, does not preclude Moffet from being a

“participant” in assessing a role adjustment for Rajaratnam in connection with Count Five.

       The Court need not resolve the parties’ dispute because even applying defendant’s

narrow view of limiting knowing participants to those who could be convicted of a particular

charged offense, the Court finds that at least six individuals were knowing participants in the

Galleon conspiracy (Count One): Rajaratnam, Panu, Chellam, Liu, Rengan Rajaratnam and

Adam Smith. A preponderance of the evidence at trial showed that each of these individuals

were members of the same conspiracy to trade on insider information to increase the profits of

Galleon and thereby increase their own profits as employees of Galleon.

           2. Organizer or Leader

       “Determining whether a defendant’s role in an offense constitutes that of an organizer or

leader requires that [a court] examine ‘the degree of discretion exercised by him, the nature and

degree of his participation in planning or organizing the offense, and the degree of control and

authority exercised over the other members of the conspiracy.’” Si Lu Tian, 339 F.3d at 156

(quoting United States v. Beaulieau, 959 F.2d 375, 379-80 (2d Cir. 1992)). Cf. USSG § 3B1.1



                                                29
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 30 of 39




cmt. n.4 (“Factors the court should consider include the exercise of decision making authority,

the nature of participation in the commission of the offense, the recruitment of accomplices, the

claimed right to a larger share of the fruits of the crime, the degree of participation in planning or

organizing the offense, the nature and scope of the illegal activity, and the degree of control and

authority exercised over others.”).

       “Evidence of a defendant’s direct and immediate control over other participants

obviously provides the strongest support for any aggravating role enhancement.” United States

v. Greenfield, 44 F.3d 1141, 1146 (2d Cir. 1995). “Yet . . . direct and immediate control over

other participants, though a crucial and perhaps even the most important factor, is neither a strict

prerequisite for an enhancement . . . nor the only factor a court should consider.” Id. Indeed,

courts in this Circuit consider the defendant’s “degree of discretion” and “the nature and degree

of his participation in planning or organizing the offense” in addition to control. Si Lu Tian, 339

F.3d at 156. Thus “to be found ‘responsible for organizing others,’ and thereby subject to a §

3B1.1 enhancement, a defendant must have at least played a significant role in the decision to

recruit or to supervise lower-level participants.” Greenfield, 44 F.3d at 1146.

        “Defendant need have been an organizer or leader only with respect to any one of these

participants for the § 3B1.1(a) enhancement to apply.” United States v. Gaskin, 364 F.3d 438,

467 (2d Cir. 2004); see also United States v. Chavez, 549 F.3d 119, 136 (2d Cir. 2008) (“While

the criminal activity must be found to have involved five or more participants, the defendant

need not have been the leader of more than one other participant for this adjustment to apply.”).

       Here, the Government has easily shown that Rajaratnam led Adam Smith, Krish Panu,

Kris Chellam and Joe Liu. Rajaratnam argues that while it is “certainly true that [he] ‘organized’

and ‘led’ Galleon’s employees in connection with Galleon’s legitimate business, there is no



                                                 30
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 31 of 39




evidence that he did so in connection with criminal activity” and “the Court must distinguish

between [his] legitimate role as the Managing Partner of Galleon and his alleged role as an

organizer or leader of criminal activity.” (Rajaratnam Mem. 43-44.) For that proposition,

Rajaratnam cites United States v. Burgos, 324 F.3d 88 (2d Cir. 2003), in which the Second

Circuit declined to extend its holding “that the owner of a legitimate business who actively

participates in criminal activity through the business may be eligible for an aggravating role

adjustment” to a situation where the government sought such “an adjustment solely on the basis

that one of the company’s employees also participated in the illicit business.” Id. at 93.

       Consistent with the Burgos court’s use of the word “solely,” the Court of Appeals has

merely read its decision in Burgos for the proposition that “enhancements should not be

automatically imposed on business owners or executives.” United States v. Huerta, 371 F.3d 88,

92 (2d Cir. 2004) (emphasis in original). Here, however, “there is enough evidence of

[Rajaratnam’s] active involvement in the conspiracy at issue in this case to undercut [his]

assertion that [his] role as [managing partner of Galleon] [i]s ‘not relevant’ to the role

enhancement analysis.” Id. Indeed, the government introduced evidence that Rajaratnam

directed Adam Smith in concealing details regarding the IDT-ICST merger and told him that

Kamal Ahmed was a “good contact,” and instructed Krish Panu and Kris Chellam as to how to

create a paper trail to give the false impression that Galleon trades were based on legitimate

analysis. Smith also testified that Liu provided inside information to both Rajaratnam and Smith

and that Smith spoke with Rajaratnam about creating a pattern of buying and selling stock in the

event the government began investigating their trades. The wire calls between Rajaratnam and




                                                 31
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 32 of 39




Rengan show in toto the defendant’s younger brother knowingly assisted defendant in advancing

the Galleon conspiracy.8

       Based on the foregoing, a four-level leadership role enhancement to the base offense

level is warranted pursuant to Section 3B1.1(a) of the Guidelines.

C.     Obstruction Enhancement

       Rajaratnam testified under oath before the SEC on June 7, 2007. The government

contends that, during his testimony, Rajaratnam committed perjury, which pursuant to section

3C1.1 of the Guidelines warrants a two (2) level enhancement for the obstruction of justice.

               1.      Governing Law

       Section 3C1.1 of the Guidelines provides that “[i]f (A) the defendant willfully obstructed

or impeded, or attempted to obstruct or impede, the administration of justice with respect to the

investigation, prosecution, or sentencing of the instant offense of conviction, and (B) the

obstructive conduct related to (i) the defendant’s offense of conviction and any relevant conduct;

or (ii) a closely related offense,” the sentencing court should “increase the offense level by 2

levels.” USSG § 3C1.1.

        “Application of § 3C1.1 generally requires findings of willfulness and materiality.”

United States v. Zagari, 111 F.3d 307, 328 (2d Cir. 1997). “The willfulness requirement means

8
  Rajaratnam cites United States v. Carter, 449 F.3d 1287 (D.C. Cir. 2006) for the proposition
that the “enhancement does not apply where . . . the defendant acted merely as a ‘hub’ or
‘orchestrator’ without actually controlling the other participants.” (Rajaratnam Mem. 42
(quoting Carter, 449 F.3d at 1299).). That does not exactly state the law in this Circuit. The
D.C. Circuit “understand[s] the concept of ‘control’ or ‘authority,’ implicit in the notion of
‘management’ or ‘supervision,’ to connote some sort of hierarchical relationship, in the sense
that an employer is hierarchically superior to his employee,” and has vacated enhancements
instituted by district courts who “failed . . . to require any proof that [the defendant] was
hierarchically superior to her co-conspirators.” United States v. Quigley, 373 F.3d 133, 140
(D.C. Cir. 2004). In this Circuit, however, “direct and immediate control . . . is neither a strict
prerequisite for an enhancement . . . nor the only factor a court should consider.” Greenfield, 44
F.3d at 1146.
                                                 32
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 33 of 39




that the enhancement ‘is appropriate only upon a finding that the defendant had the specific

intent to obstruct justice, i.e., that the defendant consciously acted with the purpose of

obstructing justice.’” Id. (quoting United States v. Defeo, 36 F.3d 272, 276 (2d Cir. 1994)).

“Such obstruction can be accomplished in many ways, one of which is the giving of perjured

testimony.” Id. Indeed, the Guideline commentary lists “committing . . . perjury” as an example

of obstructive conduct. USSG § 3C1.1 n.4(B).

       The perjury giving rise to an obstruction enhancement can occur “during the course of a

civil proceeding if such perjury pertains to conduct that forms the basis of the offense of

conviction.” Id. Civil proceedings include civil investigations. “Where federal administrative

and prosecutorial jurisdiction overlap, subsequent criminal investigations are often inseparable

from prior civil investigations, and perjury in the prior proceeding necessarily obstructs—if

successful, by preventing—the subsequent investigation.” United States v. Fiore, 381 F.3d 89, 94

(2d Cir. 2004). Hence perjury in an SEC investigation can give rise to an obstruction

enhancement. See id. at 94-95; United States v. Bennett, 252 F.3d 559, 566 (2d Cir. 2001).

        “If a court chooses to rely upon allegedly perjured testimony as a basis for application of

the enhancement, however, it must make specific findings which indicate that the judge has

considered all of the elements of perjury, including materiality, and has found that they have all

been met.” Zagari, 111 F.3d at 328. Thus, “in order to base a § 3C1.1 enhancement upon the

giving of perjured testimony, a sentencing court must find that the defendant 1) willfully 2) and

materially 3) committed perjury, which is (a) the intentional (b) giving of false testimony (c) as

to a material matter.” Id. at 329. Notably, this test means that “a sentencing court may only

apply the enhancement upon making specific findings that the defendant intentionally gave false

testimony which was material to the proceeding in which it was given, that the testimony was



                                                 33
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 34 of 39




made willfully, i.e., with the specific purpose of obstructing justice, and that the testimony was

material to the instant offense.” Id.

       In other words, the enhancement requires the court to find that the defendant, with the

specific purpose of obstructing justice, made a statement that (1) was false; (2) he knew was

false; (3) was material to the proceeding in which it was made; and (4) was material to the

offense for which he was been convicted.

                2.     Discussion

       The government contends that Rajaratnam, with the purpose of obstructing justice,

provided several false answers to the SEC’s questions that he knew were false and that were

material to both the SEC’s investigation and the crimes for which he has been convicted and that

Rajaratnam made those statements. One statement in particular was unambiguously perjurious.

At his SEC testimony, Rajaratnam testified as follows:

       Q: Did you have any reason to believe that AMD was going to acquire ATYT before the

       announcement of the acquisition?

       A: No.

(Gov’t Mem. Ex. EE at 114:17-20.) The government contends that Rajaratnam’s answer was

false and that he knew it was false because the overwhelming evidence at trial showed that both

Anil Kumar and Adam Smith had tipped Rajaratnam regarding AMD’s acquisition of ATI

Technologies, a company whose ticker symbol was “ATYT.”

       Rajaratnam does not deny the substance of that evidence. Instead, he argues that “it is

undisputed that there was a great deal of public discussion and rumor that ATYT was going to be

acquired” and “[t]he fact that [he] did not even mention that public information shows that he did




                                                 34
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 35 of 39




not willfully intend to conceal material facts but instead interpreted the question as asking

whether he knew for a fact that AMD was going to acquire ATYT.” (Rajaratnam Mem. 53.)

       That argument strains credulity. The SEC did not ask Rajaratnam whether he “knew that

AMD was going to acquire ATYT”; the SEC asked him whether he had “any reason to believe

that AMD was going to acquire ATYT.” Rajaratnam did not have to be a lawyer to understand

the difference. Cf. United States v. Portac, Inc., 869 F.2d 1288, 1296 (9th Cir. 1989) (rejecting

contention that question about whether defendant had “reason to believe” a fact was “inherently

so ambiguous that it could not support a conviction”).

       Rajaratnam also argues that “[i]n the intervening year” between AMD’s acquisition of

ATI Technologies and his testimony he “had traded literally millions of shares of hundreds of

different securities for just as many different reasons,” “[i]t is unreasonable to infer from [his]

answer that he willfully intended to conceal material facts about securities transactions that

occurred a full year earlier.” (Rajaratnam Mem. 53.) But Rajaratnam’s argument runs away

from his own evidence and his own testimony.

       At trial, Rajaratnam presented extensive testimony from his former Galleon colleague

Rick Schutte as to Rajaratnam’s prodigious memory for details about numerous companies,

including details that his analysts had reported months before. And at his SEC testimony,

Rajaratnam was able not only to recall meeting with AMD’s CEO and CFO regarding the

acquisition after AMD had announced it, (Gov’t Mem. Ex. EE at 105:17-109:4), but also to

provide an extensively detailed explanation of three reasons why Galleon purchased the stock in

the time period prior to the acquisition, (see id. at 115:17-123:15). Those explanations included

details regarding AMD’s plans to launch a product called Opteron such as that the product had

garnered excellent technical reviews, that market analysts were speculating that HP, Dell, and



                                                  35
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 36 of 39




IBM would use the product, and that AMD’s competitor, Intel, was not yet ready to release a

comparable product. It would be an incredible coincidence if Rajaratnam remembered those

details but could not remember what Smith and Kumar testified were regular and detailed

discussions about the progress of the transaction.

       Rajaratnam further argues that “the fact that [his] answer made no reference to the

widespread and perfectly innocent public speculation about this acquisition suggests that by the

time of his deposition in 2007 he simply did not recall the information he possessed about a

possible ATYT acquisition in 2006.” (Rajaratnam Mem. 53.) Hardly. The fact that Rajaratnam

did not mention the public speculation merely confirms that it had nothing to do with the

question.

       Rajaratnam does not contest—nor could he—that whether he had reason to believe that

AMD would acquire ATI Technologies before the companies publicly announced the acquisition

was material to his conviction for conspiring to trade and trading on inside information regarding

the acquisition.

       As to intent, the Second Circuit has stated that “a subject who decides upon perjury in an

SEC proceeding will do so principally because the goal is to avoid all liability or criminal

liability in particular.” Fiore, 381 F.3d at 95. Rajaratnam does not contest that proposition per

se. Instead, he argues that he did not intend to obstruct justice in answering any questions about

himself because he thought the investigation was about his brother Rengan. In that regard,

Rajaratnam notes that “the SEC was ostensibly investigating events at Sedna, a fund run by [his]

brother in which [he] was merely an investor”; that “[t]he subpoena compelling [his] attendance

at the deposition carried a Sedna caption”; that he “and his counsel reasonably expected that the

deposition would concern Sedna and [his] limited role as a passive investor at Sedna”; and that



                                                36
        Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 37 of 39




“[h]e and his attorneys accordingly focused on Sedna” in preparing for the deposition.

(Rajaratnam Mem. 46.)

       Perhaps so, but Rajaratnam cites no authority for the proposition that an investigation’s

caption governs the materiality of statements made during it. The Guidelines do instruct that the

Court “should be cognizant that inaccurate testimony or statements sometimes may result from

confusion, mistake, or faulty memory and, thus, not all inaccurate testimony or statements

necessarily reflect a willful attempt to obstruct justice.” USSG § 3C1.1 n.2. But the evidence at

trial showed and Rajaratnam testified before the SEC that he shared trading ideas with Rengan.

(See GX 509; Gov. Mem. Ex. EE. at 90:14-18, 91:20-92:1, 97:17.) In fact, Rajaratnam was

presented with a document in which Rengan asked him about whether he was going to hold on to

AMD stock in early August, just after AMD had announced its acquisition of ATI. (See Gov.

Mem. Ex. EE at 128:23-129:9.) Since Rajaratnam was surely aware that he and Rengan shared

information about stocks, Rajaratnam had every reason to expect that an investigation into

Rengan’s fund would likely include questions about his own trading activities in companies such

as AMD.

       In sum, the facts show by a preponderance of the evidence that Rajaratnam was asked a

simple question about a company with which he was very familiar in an investigation into

somebody with whom he shared information. The only preparation Rajaratnam needed to

answer that question was an understanding of his obligation to answer truthfully. But the

overwhelming evidence at trial showed that Rajaratnam gave a false answer to the SEC and that

he knew it to be false. Accordingly, a sentencing enhancement pursuant to section 3C1.1 for

obstruction of justice is warranted.




                                               37
       Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 38 of 39




                                        CONCLUSION

       The Court calculates defendant’s Sentencing Guideline Range as follows:

       1.     Because defendant has no prior offenses, his Criminal History Category is I.

       2.     Defendant’s Total Offense level for his insider-trading crimes is 38 calculated as

follows:

              (a)     The Base Offense Level for the insider trading offenses is 8.

              (b)     This is increased by 24 levels because a reasonable estimate of the total

       gains resulting from the offenses is greater than $50 million but less than $100 million.

              (c)     In making this calculation I have included estimated actual gains based on

      the increase in price of a company’s shares from the date of defendant’s purchases to a

      time shortly after the public learned of the inside information.

              (d)     The gain amount also includes estimated losses avoided in Intel and

      Google shares based on the decrease in price of the shares from the date defendant sold the

      shares to the time shortly after the public learned of the inside information. Losses

      avoided on Goldman Sachs’ stock were calculated based on the date certain analysts’

      estimates of Goldman’s fourth quarter loss in 2008 were publicized.

              (e)     The gain amount includes both the defendant’s personal gains from insider

      trading as well as the much larger gains realized by Galleon investors who, of course, did

      not participate in any criminal activity but benefited thereby.

              (f)     I have excluded any gains or losses avoided relating to the Galleon

      Crossover Fund. There is insufficient evidence to conclude that all these trades originated

      with the defendant. In any event, their inclusion would have no impact on the offense

      level calculation.



                                                38
      Case 1:09-cr-01184-LAP Document 339 Filed 02/06/12 Page 39 of 39




              (g)     I also conclude that an additional four-level enhancement in the offense

      level is warranted because defendant played a leadership role in his crimes. Specifically,

      the government has established that defendant was the organizer and leader of the

      conspiracy charged in Count I and that there were at least five knowing participants in the

      conspiracy alleged, (Smith, Panu, Chellam, Rengan, Rajaratnam and Liu.)

              (h)     Finally, I conclude that a two-level enhancement is appropriate under the

      circumstances for obstruction ofjustice. Specifically, I find that defendant acted with the

      specified intent to obstruct the SEC's investigation when, at his deposition, he was asked

      whether he had any reason to believe that AMD was going to acquire ATI before the

      public announcement of that acquisition. His answer that he did not was clearly false and

      obviously pertained to an issue material both to the SEC's proceeding and to the crimes

      for which he has been convicted in this case.

       3.     At a total Offense Level of 38 and a Criminal History Category of I, the

Sentencing Guideline Range is properly calculated to be 235 to 293 months in prison.



SO ORDERED.

Dated: New York, New York
       January 3.1,2012
                                                 < ~~--.
                                                           RicharfJ. Holwell
                                                      United States District Judge




                                               39
